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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


SYMBOLOGY INNOVATIONS LLC
                                                          Civil Action No. 2:23-cv-419-JRG-RSP
               Plaintiff,

               v.

VALVE CORPORATION, GEARBOX
                                                          Jury Trial Requested
SOFTWARE, L.L.C.,

               Defendants.




      JOINT (AGREED) MOTION FOR ENTRY OF DOCKET CONTROL ORDER

       Plaintiff Symbology Innovations LLC (“Symbology”) and Defendants Valve Corporation

(“Valve”) and Gearbox Software, LLC (“Gearbox”) (collectively, “Defendants”) file this Joint Motion

for Entry of Docket Control Order. The parties have agreed on all deadlines contained in the attached

Docket Control Order.

       Further, the parties have agreed to herein seek modification of certain deadlines that have been

designated by the Court as requiring a showing of good cause for the modification. Specifically, as

shown in the attached Exhibit A, the parties propose to modify the deadline previously provided by

the Court for filing Proposed Protective Order and complying with Paragraphs 1 & 3 of the

Discovery Order (Initial and Additional Disclosures). This deadline has been modified from

December 26, 2023 to a later deadline to avoid conflict with the surrounding holidays. No other

deadlines are affected by this change. Accordingly, good cause exists for the modification.

       Having agreed upon the terms included therein and shown good cause, the parties respectfully

request the Court grant this Motion and enter the Proposed Docket Control Order, attached to this

Joint Motion below.

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Dated: December 1 2023          Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies pursuant to Local Rule CV-7(h) that the relief requested

in this motion is agreed.

                                              /s/ Michael E. Jones




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